Case 2:04-cr-20174-BBD Document 34 Filed 05/02/05 Page 1 of 2 Page|D 31

Fll.lilj 3 f i'.`).r.`».
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESS€JY`F,i sw __ ? FH ?: ag

WESTERN DIVISION
ROB.E{~E"V F`.% ill “al"i{.`)l.§O
CLEF-‘"Y, l,.*.S.. :"`,HST. C.T.
UNITED STATES OF AMERICA, ‘J\,:"" ,l"-‘ °i'§\i, i.!‘;[§?v'»e“:l-'HS
Plaintiff,
vs. Case No. 04-20174-D
MELVIN BAPTIST
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Marcus Cathey at 2554 Elvis Presley, Memphis, TN 38106 in full refund of the cash

appearance bond posted herein.

 

ERNICE .DON D
United States District Judge

Approved.
Robert R. Di Trolio, Clerk of C urt

415
1. \‘\E,_`\
BY; &A£MAX/ _ Oo~m@
0 5/

 

- n
Deputy Clerk \%Y\e@:/ZD
eo°"`e 6’
~\;`:"\O 0<\
‘3"} O` 308
ix @l\*‘@ 2§§\?
©OG\-\\f\`% <\O`lo` 3
. a
»‘\(\\'5 \e §
- \c\

   

  

UNITED sATE DSTIIC COUR - WE'T'RN DISTRCT oFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20174 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

